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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      CHAMBER OF COMMERCE OF THE
      UNITED STATES OF AMERICA, ET AL.,

           Plaintiffs,

      v.                                                   No. 4:24-cv-00213-P

      CONSUMER FINANCIAL PROTECTION
      BUREAU, ET AL.,

           Defendants.
                                      ORDER
         The Court has become aware of the change in leadership within the
      Consumer Financial Protection Bureau’s (“CFPB”) and the most recent
      instruction from CFPB’s new leadership to CFPB employees to cease “all
      supervision and examination activity” and “all stakeholder
      engagement.” 1 Accordingly, the Court ORDERS that CFPB file a status
      report within 30 days that explains how CFPB plans to proceed in this
      case.

           SO ORDERED on this 10th day of February 2025.




                                  MARK T. PITTMAN
                                  UNITED STATES DISTRICT JUDGE




           1See Ryan Mac and Stacy Cowley, Federal Financial Watchdog Ordered to

      Cease Activity, New York Times (Feb. 9, 2025, 1:06 AM),
      https://archive.is/2025.02.09-075321/https:/www.nytimes.com/2025/02/08/us/
      politics/cfpb-vought-staff-finance-watchdog.html
